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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA,

                                                                       16-CR-826-04 (PAE)
                        -v-
                                                                              ORDER
 DOMINGO RAMOS,

                                        Defendant.


PAUL A. ENGELMAYER, District Judge:

       The Court has received the attached letter from defendant Domingo Ramos. The Court

reappoints Mr. Ramos’s trial counsel, Patrick Joyce, Esq., for the limited purpose of assisting

Mr. Ramos in attending to the concerns he raises. The Court asks Mr. Joyce, by Friday,

November 20, 2020, to file a letter on the docket of this case reporting on the status of the issues

raised by Mr. Ramos.

       SO ORDERED.


                                                           
                                                      __________________________________
                                                            PAUL A. ENGELMAYER
                                                            United States District Judge
Dated: November 9, 2020
       New York, New York
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